Case 1:24-mc-00084-JCN Document 14 Filed 02/27/24 Pagelofi PagelD #: 137

AO 442 (Rev. LI/11) Arrest Warrant

UNITED STATES DISTRICT Court
for the Fi Cu0L & PLES

District oF Maine, agit FEB a] 1:13

United States of America

v, )

Marianne Smyth )
)

)

)

)

Defendant
ARREST WARRANT
To: Any authorized law enforcement officer

YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay

(name of person to be arrested) | Marlanne Smyth
who is accused of an offense or violation based on the following document filed with the court:

© Indictment OF Superseding Indictment © Information © Superseding Information wf Complaint

© Probation Violation Petition (J Supervised Release Violation Petition O Violation Notice O Order of the Court

This offense is briefly described as follows:

Pursuant to 18 U.S.C. § 3184, being a fugitive from the United Kingdom, which has sought Smyth's arrest pursuant to the
extradition treaty between the United States and the United Kingdom, for fraud by abuse of position and theft in violation of

the criminal law of the United Kingdom.
ef

Date: ae s/2 , _
fof ; re officer's signature
City and state; Bangor , Maine Ton 0. Nyicon US. magishate Jodae
sa Printed name and title
Return

2f Z/ Zor, _ , and the person was arrested on (date) af 22 / 224

This warrant was received on (date)
at (city and state)

Date: 2-/ 22 / Le Y we pl ——

Arresting officer's signature

Spea ce hevictee Prim
Printed name maa litle

